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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                                Debtors.                             )     (Jointly Administered)
                                                                     )

       NOTICE OF SERVICE OF (I) DEBTORS’ FIRST SET OF REQUESTS FOR
    PRODUCTION TO CENTRAL STATES PENSION FUND, AND (II) DEBTORS’ FIRST
        SET OF INTERROGATORIES TO CENTRAL STATES PENSION FUND

             PLEASE TAKE NOTICE THAT on the 8th day of December, 2023, true and correct

copies of the following documents were served on the individual(s) listed below in the manner

indicated:

                    DEBTORS’ FIRST SET OF REQUESTS FOR PRODUCTION
                     TO CENTRAL STATES PENSION FUND

                    DEBTORS’ FIRST SET OF INTERROGATORIES TO CENTRAL STATES
                     PENSION FUND


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    and

1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.




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Dated: December 8, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
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